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 4
     Attorney for Defendant, THAVONE ONSYPHANLA
 5
 6
                      IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                              EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,   )                 CASE NO. 1:12-CR-00341 LJO SKO
10                               )
          Plaintiff,             )
11                               )                 STIPULATION AND
        v.                       )                 ORDER REGARDING
12                               )                 CONDITIONS OF RELEASE
     THAVONE ONSYPHANLA,         )
13                               )
           Defendant.            )
14   ____________________________)
15            It is hereby agreed to by the Government and Mr. Thavone Onsyphanla that
16   the defendant’s condition of release regarding electronic monitoring, including
17   CURFEW, shall be vacated. All other previously imposed conditions of release, not
18   in conflict with this order, remain in full force and effect.
19
     DATED: February 4, 2013               /s/ Karen Escobar
20                                         Assistant United States Attorney
                                           This was agreed to by Ms. Escobar
21                                         via email on February 4, 2013
22
     DATED: February 4, 2013               /s/ Roger K. Litman __
23                                         ROGER K. LITMAN
                                           Attorney for Defendant
24                                         THAVONE ONSYPHANLA
25
     IT IS SO ORDERED.
26
     Dated:     February 4, 2013                /s/ Sheila K. Oberto
27   ie14hj                             UNITED STATES MAGISTRATE JUDGE
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